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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                              Alexandria Division




UNITED STATES OF AMERICA,

V.                                      Criminal No. 1:15CR164

ALI SHUKRI AMIN,


                 Defendant.




                                   ORDER


         This matter comes before the Court on the Government's

Motion For Reduction Of Sentence pursuant to Fed. R. Crim. P. 35

(b). It is hereby

        ORDERED that the Government's Motion is GRANTED and the


Defendant's sentence is reduced from ONE HUNDRED AND THIRTY-SIX

(136) months heretofore imposed to SEVENTY-TWO (72) months.




                                  CLAUDE M. HILTON
                                  UNITED STATES DISTRICT JUDGE




Alexandria, Virginia
April     , 2018
